           Case No. 1:12-cr-00010-MSK Document 813 filed 01/23/13 USDC Colorado pg 1 of 9
OAO 245B       (Rev. 09/08) Judgment in a Criminal Case
               Sheet 1



                                           UNITED STATES DISTRICT COURT
                                                                   District of                              COLORADO
         UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                               V.

                       ERIC LUGO
                                                                           Case Number:                     12-cr-00010-MSK-08
                                                                           USM Number:                      38214-013

                                                                           Dennis W. Hartley, Appointed
                                                                           Defendant’s Attorney
THE DEFENDANT:
X pleaded guilty to Count             Seven of the Indictment
    pleaded nolo contendere to Count(s)
    which was accepted by the Court.
    was found guilty on Count(s)
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                     Nature of Offense                                                        Offense Ended          Count
21 U.S.C. § 841(a)(1) and           Possession with Intent to Distribute Cocaine                                04/14/10            Seven
(b)(1)(C) and 18 U.S.C. § 2


       The defendant is sentenced as provided in pages 2 through            9       of this judgment in accordance with the findings and
 conclusions made in open court, a transcript of which is attached hereto and incorporated herein by this reference. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.
    The defendant has been found not guilty on Count(s)
    Count(s)                                                 is        are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           January 14, 2013
                                                                           Date of Imposition of Judgment


                                                                           s/Marcia S. Krieger
                                                                           Signature of Judge




                                                                           Marcia S. Krieger, Chief U.S. District Judge
                                                                           Name and Title of Judge


                                                                           January 23, 2013
                                                                           Date
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AO 245B      (Rev. 06/05) Judgment in a Criminal Case
             Sheet 3 — Probation
                                                                                                           Judgment—Page       2    of         9
DEFENDANT: ERIC LUGO
CASE NUMBER: 12-cr-00010-MSK-08

                                                                 PROBATION
The defendant is hereby sentenced to probation for a term of:            three (3) years.

The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.
       The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
X      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule
of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.
                                           STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;

  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court;
          as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
 13)      record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant’s compliance with such notification requirement; and
14)       the defendant shall provide access to any requested financial information.
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 AO245B          (Rev. 09/08) Judgment in a Criminal Case
                 Sheet 3C — Probation
                                                                                              Judgment—Page    3     of        9
 DEFENDANT:                         ERIC LUGO
 CASE NUMBER:                       12-cr-00010-MSK-08

                                              SPECIAL CONDITIONS OF PROBATION
1.        The defendant will participate in and successfully complete a program of testing and/or treatment for substance abuse, as
          approved by the probation officer, until such time as the defendant is released from the program by the probation officer.
          The defendant will abstain from the use of alcohol or other intoxicants during the course of treatment and shall pay the
          cost of treatment as directed by the probation officer.
2.        The defendant shall present to the probation officer and review quarterly with the probation officer his records of income
          and expenses and compliance with a budget as determined by the defendant and his probation officer.
          Case No. 1:12-cr-00010-MSK Document 813 filed 01/23/13 USDC Colorado pg 4 of 9

AO 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 5 — Criminal Monetary Penalties

                                                                                                       Judgment — Page    4      of        9
DEFENDANT:                        ERIC LUGO
CASE NUMBER:                      12-cr-00010-MSK-08

                                                CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                           Fine                             Restitution
TOTALS           $ 100.00                                               $ 0.00                          $ 0.00
      The determination of restitution is deferred until                . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

Name of Payee                                   Total Loss*                     Restitution Ordered                      Priority or Percentage




TOTALS                                $                                  $


      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

      The Court determined that the defendant does not have the ability to pay interest and it is ordered that:

          the interest requirement is waived for the          fine           restitution.

          the interest requirement for the             fine      restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 6 — Schedule of Payments

                                                                                                          Judgment — Page      5     of       9
DEFENDANT:                   ERIC LUGO
CASE NUMBER:                 12-cr-00010-MSK-08

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A         Lump sum payment of $                             due immediately, balance due

                 not later than                                 , or
                 in accordance                C,      D,            E, or         F below; or

B     X Payment to begin immediately (may be combined with                   C,          D, or        F below); or

C         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                       (e.g., months or years), to commence                   (e.g., 30 or 60 days) after the date of this judgment; or

D         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e.g., months or years), to commence                   (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E         Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
          imprisonment. The Court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F         Special instructions regarding the payment of criminal monetary penalties:




Unless the Court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the Court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



     Joint and Several



     The defendant shall pay the cost of prosecution.
     The defendant shall pay the following Court cost(s):
     The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and Court costs.
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AO 245B (Rev. 09/08) Criminal Judgment
        Attachment (Page 1) — Statement of Reasons
                                                                                                                        Judgment—Page          6      of           9
DEFENDANT:                      ERIC LUGO
CASE NUMBER:                    12-cr-00010-MSK-08
                                                         STATEMENT OF REASONS

I     COURT FINDINGS ON PRESENTENCE INVESTIGATION REPORT

      A       X   The Court adopts the presentence investigation report without change.

      B           The Court adopts the presentence investigation report with the following changes.
                  (Check all that apply and specify Court determination, findings, or comments, referencing paragraph numbers in the presentence report, if applicable.)
                  (Use page 4 if necessary.)

          1            Chapter Two of the U.S.S.G. Manual determinations by Court (including changes to base offense level, or specific offense characteristics):



          2            Chapter Three of the U.S.S.G. Manual determinations by Court (including changes to victim-related adjustments, role in the offense, obstruction
                       of justice, multiple Counts, or acceptance of responsibility):


          3            Chapter Four of the U.S.S.G. Manual determinations by Court (including changes to criminal history category or scores, career offender, or
                       criminal livelihood determinations):



          4            Additional Comments or Findings (including comments or factual findings concerning certain information in the
                       presentence report that the Federal Bureau of Prisons may rely on when it makes inmate classification, designation,
                       or programming decisions):


      C           The record establishes no need for a presentence investigation report pursuant to Fed.R.Crim.P. 32.

II    COURT FINDING ON MANDATORY MINIMUM SENTENCE (Check all that apply.)

      A       X   No Count of conviction carries a mandatory minimum sentence.

      B           Mandatory minimum sentence imposed.

      C           One or more Counts of conviction alleged in the indictment carry a mandatory minimum term of imprisonment, but the
                  sentence imposed is below a mandatory minimum term because the Court has determined that the mandatory minimum
                  does not apply based on

                       findings of fact in this case

                       substantial assistance (18 U.S.C. § 3553(e))

                       the statutory safety valve (18 U.S.C. § 3553(f))




III   COURT DETERMINATION OF ADVISORY GUIDELINE RANGE (BEFORE DEPARTURES):

      Total Offense Level: 10
      Criminal History Category:   I
      Imprisonment Range:        6      to     12    months
      Supervised Release Term:    3 years
      Fine Range: $ 2,000           to $ 1,000,000
      X Fine waived or below the guideline range because of inability to pay.
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AO 245B      (Rev. 09/08) Criminal Judgment
             Attachment (Page 2) — Statement of Reasons
                                                                                                                        Judgment—Page         7      of             9
DEFENDANT:                           ERIC LUGO
CASE NUMBER:                         12-cr-00010-MSK-08

                                                            STATEMENT OF REASONS
IV    ADVISORY GUIDELINE SENTENCING DETERMINATION (Check only one.)
      A                The sentence is within an advisory guideline range that is not greater than 24 months, and the Court finds no reason to depart.

      B                The sentence is within an advisory guideline range that is greater than 24 months, and the specific sentence is imposed for these reasons.
                       (Use page 4 if necessary.)


      C                The Court departs from the advisory guideline range for reasons authorized by the sentencing guidelines manual.
                       (Also complete Section V.)

      D       X        The Court imposed a sentence outside the advisory sentencing guideline system. (Also complete Section VI.)


V     DEPARTURES AUTHORIZED BY THE ADVISORY SENTENCING GUIDELINES (If applicable.)
      A The sentence imposed departs (Check only one.):
           below the advisory guideline range
           above the advisory guideline range

      B      Departure based on (Check all that apply.):
             1              Plea Agreement (Check all that apply and check reason(s) below.):
                                 5K1.1 plea agreement based on the defendant’s substantial assistance
                                 5K3.1 plea agreement based on Early Disposition or “Fast-track” Program
                                 binding plea agreement for departure accepted by the Court
                                 plea agreement for departure, which the Court finds to be reasonable
                                 plea agreement that states that the government will not oppose a defense departure motion.
             2              Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
                                5K1.1 government motion based on the defendant’s substantial assistance
                                5K3.1 government motion based on Early Disposition or “Fast-track” program
                                government motion for departure
                                defense motion for departure to which the government did not object
                                defense motion for departure to which the government objected
             3              Other
                                Other than a plea agreement or motion by the parties for departure (Check reason(s) below.):
      C          Reason(s) for Departure (Check all that apply other than 5K1.1 or 5K3.1.)
     4A1.3        Criminal History Inadequacy                    5K2.1     Death                                         5K2.11 Lesser Harm
     5H1.1        Age                                            5K2.2     Physical Injury                               5K2.12 Coercion and Duress
     5H1.2        Education and Vocational Skills                5K2.3     Extreme Psychological Injury                  5K2.13 Diminished Capacity
     5H1.3        Mental and Emotional Condition                 5K2.4     Abduction or Unlawful Restraint               5K2.14 Public Welfare
     5H1.4        Physical Condition                             5K2.5     Property Damage or Loss                       5K2.16 Voluntary Disclosure of Offense
     5H1.5        Employment Record                              5K2.6     Weapon or Dangerous Weapon                    5K2.17 High-Capacity, Semiautomatic Weapon
     5H1.6        Family Ties and Responsibilities               5K2.7     Disruption of Government Function             5K2.18 Violent Street Gang
     5H1.11       Military Record, Charitable Service,           5K2.8     Extreme Conduct                               5K2.20 Aberrant Behavior
                  Good Works                                     5K2.9     Criminal Purpose                              5K2.21 Dismissed and Uncharged Conduct
     5K2.0        Aggravating or Mitigating Circumstances        5K2.10    Victim’s Conduct                              5K2.22 Age or Health of Sex Offenders
                                                                                                                         5K2.23 Discharged Terms of Imprisonment
                                                                                                                         Other guideline basis (e.g., 2B1.1 commentary)
      D          Explain the facts justifying the departure. (Use page 4 if necessary.)
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AO 245B    (Rev. 09/08) Criminal Judgment
           Attachment (Page 3) — Statement of Reasons
                                                                                                                          Judgment—Page          8       of             9
DEFENDANT:                      ERIC LUGO
CASE NUMBER:                    12-cr-00010-MSK-08

                                                          STATEMENT OF REASONS

VI   COURT DETERMINATION FOR SENTENCE OUTSIDE THE ADVISORY GUIDELINE SYSTEM
     (Check all that apply.)

     A     The sentence imposed is (Check only one.):
           X below the advisory guideline range
               above the advisory guideline range

     B     Sentence imposed pursuant to (Check all that apply.):
           1            Plea Agreement (Check all that apply and check reason(s) below.):
                               binding plea agreement for a sentence outside the advisory guideline system accepted by the Court
                               plea agreement for a sentence outside the advisory guideline system, which the Court finds to be reasonable
                               plea agreement that states that the government will not oppose a defense motion to the Court to sentence outside the advisory guideline
                               system

           2            Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
                               government motion for a sentence outside of the advisory guideline system
                               defense motion for a sentence outside of the advisory guideline system to which the government did not object
                               defense motion for a sentence outside of the advisory guideline system to which the government objected

           3            Other
                         X     Other than a plea agreement or motion by the parties for a sentence outside of the advisory guideline system (

     C     Reason(s) for Sentence Outside the Advisory Guideline System (Check all that apply.)

           X    the nature and circumstances of the offense and the history and characteristics of the defendant pursuant to 18 U.S.C. § 3553(a)(1)

                to reflect the seriousness of the offense, to promote respect for the law, and to provide just punishment for the offense (18 U.S.C. § 3553(a)(2)(A))

                to afford adequate deterrence to criminal conduct (18 U.S.C. § 3553(a)(2)(B))

                to protect the public from further crimes of the defendant (18 U.S.C. § 3553(a)(2)(C))

                to provide the defendant with needed educational or vocational training, medical care, or other correctional treatment in the most effective manner
                (18 U.S.C. § 3553(a)(2)(D))
                to avoid unwarranted sentencing disparities among defendants (18 U.S.C. § 3553(a)(6))

                to provide restitution to any victims of the offense (18 U.S.C. § 3553(a)(7))


     D     Explain the facts justifying a sentence outside the advisory guideline system. (Use page 4 if necessary.)
           The Court finds that a variance sentence, to waive the requirement of the location monitoring program, is appropriate.
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AO 245B       (Rev. 09/08) Criminal Judgment
              Attachment (Page 4) — Statement of Reasons

                                                                                                                           Judgment—Page           9      of          9
DEFENDANT:                        ERIC LUGO
CASE NUMBER:                      12-cr-00010-MSK-08

                                                          STATEMENT OF REASONS

VII COURT DETERMINATIONS OF RESTITUTION

     A    X Restitution Not Applicable.

     B Total Amount of Restitution:

     C Restitution not ordered (Check only one.):

          1          For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663A, restitution is not ordered because the number of
                     identifiable victims is so large as to make restitution impracticable under 18 U.S.C. § 3663A(c)(3)(A).

          2          For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663A, restitution is not ordered because determining complex
                     issues of fact and relating them to the cause or amount of the victims’ losses would complicate or prolong the sentencing process to a degree
                     that the need to provide restitution to any victim would be outweighed by the burden on the sentencing process under 18 U.S.C. § 3663A(c)(3)(B).

          3          For other offenses for which restitution is authorized under 18 U.S.C. § 3663 and/or required by the sentencing guidelines, restitution is not
                     ordered because the complication and prolongation of the sentencing process resulting from the fashioning of a restitution order outweigh
                     the need to provide restitution to any victims under 18 U.S.C. § 3663(a)(1)(B)(ii).

          4          Restitution is not ordered for other reasons. (Explain.)




     D        Partial restitution is ordered for these reasons (18 U.S.C. § 3553(c)):




VIII ADDITIONAL FACTS JUSTIFYING THE SENTENCE IN THIS CASE (If applicable.)

      The defendant is sentenced as provided in pages 2 through 9 of this judgment in accordance with the findings and conclusions made
      in open court, a transcript of which is attached hereto and incorporated herein by this reference. The sentence is imposed pursuant
      to the Sentencing Reform Act of 1984.

      Sections I, II, III, IV, and VII of the Statement of Reasons form must be completed in all felony cases.
